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UN|TED STATES DlSTR|CT COURT
WESTERN DlSTR|CT OF TENNESSEE
MEMPH|S DlVlSlON

UN|TED STATES OF AMER|CA

 

.v. 2:04cr20217-01-Ml

AARON DEMAR BOONE
Robert irbyl CJA
Defense Attorney
4345 East Ma||ory
Memphis, TN 38111

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987) ,

The defendant pleaded guilty to Counts 1 and 2 of the indictment on February 15, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section Mtu_l'e°f_Q_f_f£W Offense Numberlsl
Mu_d_§
18 U.S.C. § 371 Conspiracy to Defraud the United 11/30/2001 1
States
18 U.S.C. §§ 666 and 2 Theft from Programs Receiving 11/30/2001 2

Federai Funds

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence1 or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentenoe:
Defendant’s Date of Birth: 12/27/1971 lViay 18, 2005
Deft’s U.S. |Vlarsha| No.: 15080-076

Defendant’s lVlai|ing Address:

321 West Burdock (
|V|emphis, TN 38109 /Q\’Q;\ QQD _

J N PH|PPS MCCALLA
UN TED S ATES DlSTR|CT JUDGE

May , 2005

This document entered on the docket :h_oet in og?p|ianca
With Ru|e 55 and/or 32(!:)) FRCrP on J ' "'

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IMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 6 Months as to Count1; 6 Months as to Count 2;
Counts 1 and 2 to be served concurrently with each other for a total term of
incarceration of 6 Months.

The Court recommends to the Bureau of Prisons: the defendant be incarcerated
at a facility in the Nlid-South area.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshal.

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years as to Count 1 and 3 Years as to Count 2; Counts 1 and 2 to be
supervised concurrently with each other for a total term of supervision of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possessl use,

distributel or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7_ The defendant shall not frequent places where controlled substances are illegally soldl usedl
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

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10. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| i\/lonetary Pena|ties sheet of thisjudgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate in the Home Detention program for a period of 6 Months.
During this time, defendant will remain at defendant’s place of residence except for
employment and other activities approved in advance by the defendant’s Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Western District of Tennessee, which may include the requirement to wear an electronic
monitoring device and to follow electronic monitoring procedures specified bythe Probation
Officer. Further, the defendant shall be required to contribute to the costs of services for
such monitoring not to exceed an amount determined reasonable by the Probation Officer
based on ability to pay (or availability of third party payment) and in conformance with the
Probation Office’s S|iding Scale for Electronic Nlonitoring Services.

2. The defendant shall submit to substance abuse testing and substance abuse treatment
programs as directed by the Probation Office.

3. The defendant shall make full financial disclosure.

4. The defendant shall provide third-party risk notification

5. The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit, or making an obligation for any major purchases without prior approval of the
Probation Office.

6. The defendant shall cooperate with D|\lA collection as directed by the Probation Office.

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CR|M|NAL MONETARY PENALTIES

The defendant shall paythefo|lowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. §
3612(f). A|i of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$200.00 $57,211.00*

The Special Assessment shall be due immediately
FlNE
No fine imposedl
REST|TUT|ON

Restitution in the amount of $57,211.00* is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of paxee Amount Restitution Ordered or
of Loss Percentage
of Payment

LEi\/|OYNE-OWEN $57,211.00 $57,211.00
COLLEGE,
Attn: FlSCAL OFF|CE
807 WALKER AVENUE

MEMPH|S, TN 38126
RE: Restitution (Kelli Pollard)

*Restitution is joint and several with Mar|on Briggs in case 2:04CR20210.

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|f the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority orderor percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less 10%
of gross monthly income. Additional|y, the interest requirement is waived.

Un|ess the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federai Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:04-CR-202]7 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

i\/lemphis7 TN 38111

Dan Newsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

